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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA
                             ALEXANDRIA DIVISION

MAYA PARIZER, ADIN GESS, NOACH                      )
NEWMAN, NATALIE SANANDAJI, YONI                     )
DILLER, DAVID BROMBERG, LIOR                        )
BAR OR, ARIEL EIN-GAL, and HAGAR                    )
ALMOG,                                              )
                                                    )
       Plaintiffs,                                  )
                                                    )
v.                                                  )       Civil No. 1:24-cv-00724-RDA-IDD
                                                    )
AJP EDUCATIONAL FOUNDATION,                         )
INC. a/k/a AMERICAN MUSLIMS FOR                     )
PALESTINE, NATIONAL STUDENTS                        )
FOR JUSTICE IN PALESTINE, WESPAC                    )
FOUNDATION, HATEM BAZIAN, OSAMA                     )
ABUIRSHAID, TAHER HERZALLAH, and                    )
ZAREFAH BAROUD,                                     )
                                                    )
       Defendants.                                  )


          PLAINTIFFS’ RESPONSE TO DEFENDANT WESPAC’S PRAECIPE
                      WITH SUPPLEMENTAL AUTHORITY

       Defendants’ latest supplemental authority—this one filed by WESPAC—is as inapposite

as their prior submissions.1 (Praecipe with Supplemental Authority, ECF No. 159; StandWithUs

Center for Legal Justice v. CodePink, No. 2:24-cv-06253-SVW-PVC (C.D. Cal. June 13, 2025),

ECF No. 159-1.) StandWithUs arises out of the defendants’ disruption of a religious event at a

synagogue in California. (ECF No. 159-1 at 37, 39–41.) The plaintiffs brought claims under the

Ku Klux Klan Act and the Freedom of Access to Clinic Entrances Act (the “FACE Act”) against

the riot organizers and their fiscal sponsors, including WESPAC. (Id. at 41–42.) The court




1 Capitalized terms used herein have the same meanings as in Plaintiffs’ opposition to the motions

to dismiss filed by AMP and WESPAC. (Joint Opposition (“Joint Opp.”), ECF No. 85.)


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dismissed the claims against WESPAC for failure to state a claim and for lack of personal

jurisdiction. Neither holding has any bearing here.

       First, the court dismissed the claims on the merits because WESPAC’s sponsorship of the

riot organizers did not create an agency relationship or allow for vicarious liability. (Id. at 68–69.)

But Plaintiffs’ claims in this case do not demand that showing, and Plaintiffs do not seek hold to

WESPAC secondarily liable for NSJP’s torts. Rather, Plaintiffs’ claim is that WESPAC itself aided

and abetted Hamas’s terror attacks, and Plaintiffs rely on WESPAC’s fiscal sponsorship of NSJP—

i.e., giving money to a group that declares itself “PART of” Hamas—to show that it was generally

aware of its role in Hamas’s illegal activities and provided knowing and substantial assistance.

(Joint Opp. 21–24; see also id. at 36–37 (Alien Tort Statute claim).) The agency ruling in

StandWithUs does not affect these arguments.

       Second, the court held it lacked personal jurisdiction over WESPAC because it had not

purposefully directed its activities toward the forum state. (StandWithUs, ECF No. 159-1 at 69–

70.) That analysis is irrelevant here. The Ku Klux Klan Act (42 U.S.C. § 1985(3)) and the FACE

Act (18 U.S.C. § 248) lack nationwide service of process provisions, so the court applied the

traditional jurisdictional test. The Antiterrorism Act, by contrast, permits nationwide service of

process, making WESPAC’s contacts with the forum state all but irrelevant. (Joint Opp. 26.) In

any event, WESPAC conceded jurisdiction as to the Antiterrorism Act claim by contesting the

merits without raising jurisdiction, and the Court should exercise pendent personal jurisdiction

over the Alien Tort Statute claim because the claims are closely related. (Id. at 26–27.)




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Dated: June 25, 2025


                                            Respectfully submitted,


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                                            Newman, Natalie Sanandaji, Yoni Diller,
                                            David Bromberg, and Lior Bar Or

                                            By: /s/ Jason Torchinsky
                                               JASON TORCHINSKY




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                                       Certificate of Service


        I hereby certify that on June 25, 2025, I electronically filed the foregoing with the Clerk of
the Court using the CM/ECF system, which will send a notice of electronic filing to all counsel of
record.



                                                      /s/ Jason Torchinsky
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